Case 3:18-cV-01832-DI\/|S-I\/|DD Document66 Filed 09/14/18 Page|D.863 PagelofS

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September 14, 2018
VlA ECF AND EMAlL

Hon. Dana Sabraw, U.S.D.J.

United States District Court for the Southem District of California
Courtroom 13A (13th Floor - Carter/Keep)

Suite 1310

333 West Broadway

San Diego, CA 92101

Re: Ms. L. v. ICE, Dkt. No. 3:18-cv-00428-DMS-MDD;
MMM v. Sessions, Dkt. No. 3:18-cv-01832-DMS-MDD -
Fed. R. Civ. P. 23(e) Notice and Hearing Requirements.

Dear Judge Sabraw:

I write on behalf of Catholic Charities Community Services of the Archdiocese of New York
(“CCCS”), which is the subcontractor for legal services to children in federal custody in New
York and has provided or is providing legal services, including ongoing representation, to
hundreds of separated children. CCCS’s clients are putative class members who will be directly
affected by the proposed settlement in the MM.M. litigation; they meet the definition of what the
parties refer to as “MM.M. Agreed Class Members” at footnote 1 of the “Plan to address the
asylum claims of class-member parents and children who are physically present in the United
States.” Ms. L. v. ICE, No. 18-428, ECF No. 220-1 (September 12, 2018).

As the parties to the Ms. L. and MM.M matters acknowledge, the Court directed them to meet
and confer on, among other things, “how they wish to proceed on the issues of class certification
and Plaintiffs’ entitlement to asylum proceedings under §§ 235 or 240.” M.MM. v. Sessions,
No. 18-1832, Order, ECF No. 55 at 16 (Aug. 16, 2018); see also Ms. L. v. ICE, No. 18-428,
Order, ECF No. 196 at 1 (Aug. 17, 2018) (“[t]he parties shall meet and confer . . . on class
certification in M.M.M, and whether the plaintiffs in that case are entitled to pursue asylum
requests under § 235 or § 240.”). The parties submitted a proposed agreement to resolve the
issues identified by the Court. However, their proposed plan remains silent on class certification,
which will be a necessary prerequisite to the Court’s approval of the proposed settlement.

lt is our understanding that the parties intend to “address any procedural steps that may be
necessary prior to approval of the agreement” during today’s status conference. Ms. L. v. ICE,
No. 18-428, Notice Lodging Agreement for Court’s Approval, ECF No. 220 at 2 (Sept. 12,
2018). The parties’ proposed agreement would bind the “M.M.M Agreed Class Members” and

 

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Case 3:18-cV-01832-DI\/|S-I\/|DD Document 66 Filed 09/14/18 Page|D.864 PageZofS

Hon. Dana Sabraw, U.S.D.J. September 14, 2018
Page 2

therefore the process undertaken prior to the Court’s approval must comply with Federal Rule of
Civil Procedure 23(e). Rule 23(e) requires notice to the class, an opportunity to object, and a
hearing to determine whether the settlement is “fair, reasonable, and adequate.” Fed. R. Civ. P.
23(e)(2).

We understand the need to proceed as swiftly as possible and are therefore offering our services
to assist with the notice requirement Upon request, we would be happy to provide the parties
with a list of the federal subcontractors who provide legal services to children in federal custody.

Res ectfully submitted,

Catherine Weiss

 

s/ Katie R. Glynn
Katie R. Glynn

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Case 3:18-cV-01832-DI\/|S-I\/|DD Document66 Filed 09/14/18 Page|D.865 PageSofS

Hon. Dana Sabraw, U.S.D.J. September 14, 2018
Page 3

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